

People v Love (2023 NY Slip Op 01412)





People v Love


2023 NY Slip Op 01412


Decided on March 17, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 17, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, MONTOUR, OGDEN, AND GREENWOOD, JJ.


199 KA 18-02179

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vRANDY LOVE, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






ERIK TEIFKE, ACTING PUBLIC DEFENDER, ROCHESTER (PAUL SKIP LAISURE OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (MERIDETH H. SMITH OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Charles A. Schiano, Jr., J.), rendered August 27, 2018. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree (two counts) and resisting arrest. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: March 17, 2023
Ann Dillon Flynn
Clerk of the Court








